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             IN THE CIRCUIT COURT OF THE FIRST JUDICIAL DISTRICT OF
                            HINDS COUNTY, MISSISSIPPI

CITY OF JACKSON,

        Plaintiff,
V.                                                    CAUSE NO. 19-375
SIEMENS INDUSTRY, INC., SIEMENS
CORPORATION, SIEMENS AG, CHRIS
MCNEIL, U.S. CONSOLIDATED, INC.,
U.S. CONSOLIDATED GROUP LLC,
M.A.C. & ASSOCIATES, LLC, IVISION IT
CONSULTANTS LLC, GARRETT
ENTERPRISES CONSOLIDATED, INC.,
MUELLER SYSTEMS LLC, and JOHN
DOES 1 – 10

        Defendants.


                      PLAINTIFF’S FIRST AMENDED COMPLAINT
                             (JURY TRIAL DEMANDED)



        Plaintiff, the City of Jackson, Mississippi (the “City” or “Plaintiff”), files this First

Amended Complaint against Defendants, Siemens Industry, Inc., Siemens Corporation

(collectively, “Siemens”), Chris McNeil (“McNeil”), U.S. Consolidated, Inc., U.S. Consolidated

Group LLC (collectively, “U.S. Consolidated”), M.A.C. & Associates, LLC (“M.A.C.”), Ivision

IT Consultants LLC (“Ivision”), Garrett Enterprises Consolidated, Inc. (“Garrett”), Mueller

Systems LLC (“Mueller”), and John Does 1 – 10 (collectively, the “Defendants”), and hereby

pleads as follows:

                                          I. PARTIES

        1.      Plaintiff, the City of Jackson, is a municipal corporation organized and existing

under the laws of the State of Mississippi. The City of Jackson is a mid-sized city with a



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population of approximately 165,000 residents. The Jackson Area Water and Wastewater system

serves residents and citizens within Hinds County, Mississippi. The City is governed by the

Mayor and City Council. The Mayor is elected by the at-large vote of the residents and citizens

of the City. There are seven members of the City Council, each elected to represent the citizens

and residents of one of the City’s seven Wards. This lawsuit is filed by authority of the Mayor of

the City of Jackson and with approval of the City Council as the elected representatives of the

citizens and residents of the City.

        2.         Siemens Industry, Inc. is a Delaware corporation doing business in the State of

Mississippi. Siemens Industry, Inc. has been served and has appeared in the lawsuit.

        3.         Siemens Corporation is a Delaware corporation doing business in the State of

Mississippi. Siemens Corporation has been served and has appeared in the lawsuit.

        4.         Mueller Systems LLC is a Delaware limited liability doing business in the State

of Mississippi.       Mueller Systems LLC may be served through its registered agent, CT

Corporation System, at 645 Lakeland East Dr., Suite 101, Flowood, Mississippi 39232.

        5.         Chris McNeil is an individual who, on information and belief, resides and works

in Mississippi. McNeil is a former employee of Siemens and is being sued in his individual

capacity and in his capacity as an agent of Siemens. McNeil has been served and has appeared

in this lawsuit.

        6.         U.S. Consolidated, Inc. is a Mississippi corporation with its principal office

located at 4785 I-55 North, Suite 102, Jackson, Mississippi 39206. U.S. Consolidated, Inc. has

been served and has appeared in this lawsuit.




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       7.      U.S. Consolidated Group LLC is a Mississippi limited liability company doing

business in the State of Mississippi. U.S. Consolidated Group LLC has been served and has

appeared in this lawsuit.

       8.      M.A.C. & Associates, LLC is a Mississippi limited liability company doing

business in the State of Mississippi, with its principal office located at 125 S. Congress St., Suite

1300, Jackson, Mississippi 39201. M.A.C. & Associates, LLC has been served.

       9.      Ivision IT Consultants LLC is a Mississippi limited liability company doing

business in the State of Mississippi. Ivision IT Consultants LLC has been served and has

appeared in this lawsuit.

       10.     Garrett Enterprises Consolidated, Inc. is a Mississippi corporation with its

principal office located at 2659 Livingston Road, Jackson, Mississippi 39213.                Garrett

Enterprises Consolidated, Inc. has been served and has appeared in this lawsuit.

       11.     Defendants John Does 1 – 10 are persons or entities who may be liable for all or

part of the claims or damages set forth in this Complaint, but whose involvement or identity is

unknown at this time. These defendants include, without limitation, individuals or entities who

received improper payments or benefits in connection with the project at issue in this lawsuit.

                               II. JURISDICTION AND VENUE

       12.     This Court has subject matter and personal jurisdiction over the Defendants under

Mississippi Code § 9-7-81. The Defendants reside in Mississippi and/or committed the acts,

omissions, and torts described in this Complaint in the State of Mississippi. Defendants also

have systematic and continuous contacts with the State of Mississippi.




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       13.       Under Mississippi Code § 11-11-3, venue is proper in the Circuit Court of Hinds

County, Mississippi because the events that caused the injuries at issue occurred in Hinds

County, Mississippi.

                               III. CONDITIONS PRECEDENT

       14.       All conditions precedent necessary to maintain this action have been performed or

have occurred.

                                     IV. CASE OVERVIEW

       15.       This case involves a massive fraud orchestrated by Siemens under the guise of an

energy performance contract promising $120 million in guaranteed savings for the City.

Siemens was paid $90 million to install a new automated water meter and billing system and to

make repairs to the City’s water treatment plants and sewer lines. Siemens committed fraud with

respect to who was performing the work on the project, what the system would do, and what

savings the system would generate, among other things. Far from delivering on its promise of

$120 million in guaranteed savings, Siemens provided illusory guarantees and a defective system

that caused more than $450 million in losses to the City.

       16.       To induce the City to hire Siemens for the $90 million project, Siemens

guaranteed that increased revenue and savings from the water meter upgrades would pay for the

cost of the project, including the financing costs that ultimately resulted in the project costing

more than $200 million. Siemens assured the City that the new system would be so accurate in

measuring the water consumed by the City’s customers that the system would pay for itself

through increased revenue collections and a decrease in the number of City employees needed to

manage the automated system.         In its pitch to the City, Siemens repeatedly invoked the




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guaranteed structure of an energy performance contract. But in the end, the energy performance

contract promised by Siemens was not an energy performance contract at all.

       17.    Siemens failed the citizens of Jackson in its promises to perform and in its

obligations of honesty and fair dealing. When it came time to execute an agreement, Siemens

effectuated a “bait-and-switch” that fell short of a true performance contract. Despite promising

to structure an agreement to comply with the requirements of an energy performance contract

regulated by the State of Mississippi, Siemens created a deal structure with illusory savings and

no real performance assurances at all. The substantial majority of the purported “savings” under

the contract are phony, assumed amounts that are not measured against actual savings or revenue

realized by the City. Siemens represented that it would structure the agreement to comply with

energy performance contracting requirements, but it intentionally omitted any true performance

guarantees or energy savings in the contract itself. The City thus took on all of the risk of the

project while Siemens was paid $90 million regardless of its delivery of actual savings and

revenue.

       18.    Siemens’s “bait-and-switch” scheme is not only fraudulent, but it also invalidates

the contract, which lacks the statutory protections promised by Siemens and to which the City

and its citizens are entitled. Siemens sold the automated water meter and billing system as an

energy performance contract to avoid an open public bidding process. But the process used by

Siemens was a sham. Siemens manipulated the Mississippi Development Authority (“MDA”)

oversight process in violation of Mississippi law to obtain approval by the MDA as an “energy

performance contract,” even though the contract is devoid of the guarantees and protections

required by Mississippi law. Because of Siemens’s manipulations, the project was not publicly

bid and the MDA was unable to provide meaningful oversight. By promising but failing to




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provide an actual energy performance contract with guaranteed revenue and savings, Siemens

violated the strict bidding requirements of Mississippi’s public bidding statute and created an

invalid contract that undermines the very purpose of guaranteed energy performance contracts.

       19.     As a further inducement for the City to enter into a contract with Siemens,

Siemens also misrepresented its commitment to hire qualified, minority-owned subcontractors

under an Equal Business Opportunity (EBO) plan. In an effort to provide opportunities for

historically-underutilized businesses, the City encourages contractors like Siemens to consider

qualified minority-owned businesses when selecting subcontractors to perform work on public

works projects. As part of its pitch to secure a contract with the City, Siemens represented that it

would utilize minority-owned businesses to carry out 58% (more than $52 million) of the $90

million project cost. However, Siemens never intended to hire qualified EBO subcontractors to

actually perform the work. Instead, Siemens conspired with its co-defendants and used a pass-

through scheme in which it hired sham subcontractors and middlemen to inflate its EBO

numbers and deceive the City’s residents. Focused only on generating a multi-million dollar

project for itself, Siemens drove up the cost of the project by using unqualified pass-through

entities selected on the basis of their political connections and influence rather than their

qualifications, thereby depriving qualified and competent EBO contractors the opportunity to

perform the work in accordance with the law and the representations made by Siemens. Siemens

and its co-defendants manipulated the EBO plan requirements and made millions of dollars to

the detriment of the citizens of Jackson.

       20.     Siemens not only defrauded the City and its residents through the contracting

process, but Siemens also failed to provide a water meter system that works. The $90 million

project was plagued by technical problems from the start. The hardware for the system was




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shockingly overpriced and rarely installed properly.     More than 20,000 water meters were

installed incorrectly or were unable to transmit meter readings to the system, causing delays in

the project and chronic, ongoing problems with accurately measuring and billing for water usage

by the City’s customers. The meters as installed could not communicate with the billing system,

and the billing system was not set up appropriately to address the thousands of faulty meter

readings, which resulted in accounts becoming “stranded” in the system.

       21.    To this day, the City continues to discover serious flaws and implementation

problems that were concealed by Siemens, including inherent defects in the Siemens system.

First, the City has become aware of information indicating that the Mueller water meters and

associated equipment installed by Siemens have manufacturing and/or design defects, resulting

in meter reading failures at a rate far in excess of the industry standard. Second, the City

eventually learned through trial and error that, as designed and implemented by Siemens, the

Mueller automated water meter system was incompatible with the Oracle Customer Care and

Billing System, revealing a fatal design defect that destroyed the functionality of the system.

Even more alarming, Siemens knew that the water meter and billing system suffered from

inherent defects while the project was ongoing. Siemens concealed this vital information from

the City while the City worked diligently to figure out the problems with the system. In fact,

Siemens sent fraudulent notices to the City representing that the project was complete and the

system was functional, despite knowing that the system was plagued by problems that would

continue to interfere with the City’s revenue collection efforts after the system was handed over

by Siemens.

       22.    Despite the City’s efforts to remedy defects in the system, the Siemens water

system continues to be a disaster for the City of Jackson and its citizens. At the time Siemens




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handed over a system that it claimed to be functional, more than 20,000 of the 60,000 meters

installed by Siemens were not functioning correctly. To this day, it is estimated that more than

10,000 meters still are not working, and the billing system has repeatedly generated grossly

inaccurate bills and, in some instances, failed to generate bills at all. This has resulted in the

City’s inability to collect revenue from water use, while the City’s residents and businesses have

lost all confidence in the defective system installed by Siemens.

        23.     Siemens sold the water meter project as a risk-free energy performance contract

backed by Siemens’s full financial guarantee. Siemens claimed that the automated meter system

would pay for itself and make money for the City. And Siemens pledged to write a check to the

City for the difference if the system did not deliver guaranteed revenue and savings to cover the

entire cost of the project. In reality, Siemens installed a defective automated water meter system

that is inferior in every respect to the City’s old manual system and that delivers none of the

guarantees promised by Siemens. Siemens ultimately guaranteed nothing other than financial

ruin for the City.

        24.     The City thus has been forced to bring this lawsuit to hold Siemens and its co-

defendants accountable for their promises to the citizens of Jackson and the financial disaster

they have caused. The City seeks to recover approximately $209 million for the cost of the

system and its implementation, which includes the $90 million paid to Siemens and the City’s

debt service costs for financing the project. The City also seeks to recover more than $175

million for lost revenue from the defective system and more than $75 million for system

stabilization, repairs, and ongoing maintenance and operations costs funded by the City.

        25.     In addition to these damages of more than $450 million, the City has incurred

other substantial losses due to the Siemens project destroying the City’s credit rating and ability




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to borrow necessary funds. This has resulted in the City’s inability to complete other public

works projects, including work required by a preexisting consent decree in an enforcement action

by the United States Environmental Protection Agency. In total, the City will likely suffer more

than $700 million in losses caused by the supposedly “guaranteed” and “risk-free” water meter

project promised by Siemens.

                               V. FACTUAL BACKGROUND

A.      Siemens Makes False Promises to Induce the City to Approve the Project.

        26.    The City’s path to the ill-fated project with Siemens started several years ago. In

2010, Chris McNeil of Siemens began his pitch to persuade the City to hire Siemens for what

McNeil referred to as a “guaranteed water project” to update the City’s water meter

infrastructure. On September 7, 2010, McNeil sent an email to Dan Gaillet, the City’s Public

Works Director at the time, “to guide you through the process of the water project,” informing

Gaillet that “[t]o get the process started all you need is to send an email to the MDA (Terrence

Spears) with an intent to advertise” and ensuring the City that “[w]e [i.e., Siemens] have already

received approval for these projects so there should be no objection.” McNeil represented to

Gaillet that Siemens performed “the first guaranteed project done in MS” for the City of

McComb, Mississippi, and that “through a Guaranteed Performance-based Solution,” McComb’s

“revenue enhancements were accomplished through a comprehensive water meter project with

the installation of fixed base AMR technology.” Unknown to the City of Jackson at the time, the

City of McComb would later sue Siemens for its defective water meter system and empty

guarantees.

        27.    McNeil continued his pitch to the City throughout the Fall of 2010, promising to

deliver a guaranteed water meter project backed by the risk-free structure of an energy

performance contract.     In an October 21, 2010 email to Gaillet, McNeil stated that


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“[p]erformance contracting is a great thing and is one of the greatest economic development

tools you guys [i.e., the City] have.” In touting Siemens’s experience, McNeil claimed that

“[w]e [i.e., Siemens] are the largest ESCO [i.e., energy services company] in the world and have

performed more PC [i.e., performance contract] projects in MS than all other ESCO’s

combined.” McNeil claimed that “[w]e have performed every guaranteed project in MS” and

“[w]e have NEVER missed a guarantee in MS.”

       28.     On December 7, 2010, McNeil again contacted Gaillet and informed him that

Siemens effectively wrote the legislation governing energy performance contracts, and the City

needed to use that statute in updating its water meter system because, according to McNeil, the

City was losing thousands of dollars each day through the use of its manual water meter system.

McNeil told Gaillet that “[r]ight now the city truly needs this project b/c you are losing

thousands of dollars each day the project is not implemented.” In referring to Mississippi’s

statute governing energy performance contracts, McNeil represented that “Siemens pushed this

legislation through to make these jobs possible, did the first guarantee job at the City of

McComb, and set the standard for contract language required with the MDA,” and Siemens “got

[language] added to the legislation to allow these projects.”

       29.     In pushing the guaranteed structure of the project, McNeil assured Gaillet that

“the [Mississippi Attorney General] and MDA have both approved these projects,” and [o]nce

you select someone there is specific language that has to be put in the contact, specific ways the

[technical energy analysis] has to be submitted, specific calculations on savings.” Once again

touting Siemens’s allegedly singular experience, McNeil claimed that “we [i.e., Siemens] have

been selected on every job that has been advertised” and “this is truly a situation that we are the

only vendor that knows b/c we are the ONLY ones that have done it.” McNeil assured Gaillet




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that “we [i.e., Siemens] know this stuff backwards and forwards and can help you fight any

erroneous information that is provided.” At the time, the City did not know that Siemens, the

supposed expert on these types of projects, would be the one providing false information to the

City.

        30.    Siemens, through McNeil, continued to urge the City to initiate the “risk-free”

water meter project throughout 2010 and early 2011. On January 30, 2011, McNeil contacted

Gaillet to provide information to address “questions from my team members that city personnel

have been asking … about the differences between 1 ESCO vs. multiple award, how the

guarantees work, etc.” McNeil stated that “[w]ith any performance contract there are several

different things that can be guaranteed: utility savings, operations savings, capital cost planning,

and revenue production,” and “for any improvements we propose the guarantees listed above on

an annual basis must pay for the improvements over the term.” McNeil made clear that “[t]he

goal is for the ESCO [i.e., Siemens] to take all the risk.” In discussing whether the project could

be awarded to two prime contractors by “split[ting] everything down the middle including water

meters,” McNeil represented that “[i]n MS this is not possible b/c the state requires the ESCO

[i.e., Siemens] to guarantee actual $$$ on revenue not just accuracy [of water meters]. You can’t

have two companies guaranteeing $$$.” McNeil claimed that “MS is the only state I know of

that has this requirement so the other companies responding to this project will not know this.

Since we are the only company to have performed these projects in MS we would be the only

one to know this.”

        31.    With McNeil continually assuring the City that the project would pay for itself,

the City eventually began the process of advertising for an energy performance contract to

update the City’s water meter infrastructure.         In August 2011, the City, through the




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administration of former Mayor Harvey Johnson, issued a Request for Qualifications for an

Energy Performance Contract.        Siemens issued a response to the City’s Request for

Qualifications in or around October 2011. In its response and ongoing communications with the

City, Siemens assured the City that the project would receive the full financial and technical

support of the entire Siemens organization, with Siemens representing itself as an $80 billion

company with world-wide experience in successfully completing energy performance contracts.

       32.     After receiving Siemens’s response, the City and Siemens continued to engage in

discussions regarding the City’s water meter system and the possibility of improvements to the

system under an energy performance contract. During those discussions in January, February,

and March 2012, Siemens representative McNeil continued to represent that the City would

generate additional revenue from water usage and would realize operational savings if it

upgraded its water meter system. McNeil assured the City that if Siemens was selected as the

contractor, the additional revenue and savings realized by the City would pay for the cost of the

project and would result in incremental revenue for water usage not captured by the City’s

current meters. In a presentation to the City on or around March 26, 2012, McNeil represented

that the City would be able to collect additional revenue and reduce operating costs, which would

pay for the cost of the project and provide additional cash flow to the City. Siemens emphasized

that the “[f]irst payment isn’t due until revenues are realized,” and the “[i]ncreased revenue and

reduced operating costs provide supplemental capital improvement funds,” which the City can

use to fund other necessary projects. In its presentation, Siemens and McNeil once again assured

the City that the project would be paid for by “GUARANTEED SAVINGS! – ESCO [i.e.,

Siemens] PAYS FOR ANY SHORTFALLS.”




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       33.     Relying on Siemens’s representations of a guaranteed energy performance

contract in which Siemens would pay for any shortfalls in increased revenue and savings to

cover the cost of the project, the City selected Siemens to go forward with a technical energy

analysis, which is required by Mississippi’s energy performance contracting statute. In May

2012, Siemens conducted a technical energy audit of the City’s water meter system. The

analysis claimed that the City’s meters were only 86% to 94% accurate, and the meter accuracy

would decrease to 79% to 87% over a fifteen-year period. Siemens, through representatives that

included Chris McNeil, represented that new water meters installed by Siemens, by comparison,

would have a 98.5% accuracy rate. Siemens representative McNeil represented that its more

accurate meters would result in increased revenue for the City without the need to raise rates

charged to the citizens of Jackson. Siemens and McNeil further represented that the City would

benefit from operational and maintenance savings associated with updated meters that could be

read remotely, which would eliminate the need for City personnel to read individual meters and

perform repairs to the old system. In a May 25, 2012 email to Gaillet, McNeil emphasized that

“[t]he project must be self funded. This project will require NO RATE INCREASES or TAX

INCREASES.” McNeil also confirmed that “the project … will be funded by the guaranteed

savings/revenues.”

       34.     Siemens guaranteed that the City would realize more than $120 million in

increased revenue and savings as a result of the water meter upgrades. Siemens representatives,

including McNeil, again represented that the guaranteed savings from the water meter upgrades

would pay for the cost of the project and the City’s cost of financing the work. To make sure

that the City would approve the project and be able to obtain financing, McNeil even provided

information to the City that he intended for the City to pass on to rating agencies. In a July 31,




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2012 email to Gaillet, McNeil provided “the answers you need for the rating agency.” Among

other “answers” provided by Siemens, McNeil represented that “[t]he performance contract is a

construction job that is paid from additional revenues and operational savings that are achieved

by the project.” He also represented that “[t]he project will generate about 4.5M per year in

revenues and another 3.5M per year in reductions to the current operating budget,” and “[t]hese

savings will be used over a 15 year period of time to fund the 85M in debt service required to

pay for the project and the savings will be GUARANTEED by Siemens,” assuring the City that

“[i]f there is a shortfall in the revenues Siemens must write a check back to the city for the

difference.”

       35.     McNeil once again invoked the protections of Mississippi’s energy performance

contract statute in trying to persuade the City to approve the project. In his July 31, 2012 email,

McNeil stated that “[t]he contract will be reviewed by the Mississippi Development Authority

and ultimately approved based on its cash neutral approach. This agency ensures that the

revenues/savings in the contract are viable and that the city is signing a contract that fully covers

them financially.” McNeil continued to emphasize that “[a]s part of the state law and MDA

requirements, the project must be fully funded from the guaranteed savings/revenues.” And

McNeil again emphasized the risk-free nature of an energy performance contract in an August 2,

2012 email to the City, representing that “[p]er MS Law 31-7-14 these revenues/savings must

cover the debt service each year. If there is a shortfall, Siemens will have to reimburse the city

for the difference to pay for the debt service.” According to McNeil, “[t]hat is where the

guarantee comes into play. This guarantee will stay in place as long as the city has debt service

on the project up to a maximum of 15 years.” Unknown to the City at the time, Siemens had no




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intention of providing the required guarantee that McNeil was pitching as an essential element of

a supposedly “risk-free” and “cash neutral” project.

       36.     In addition to false representations regarding Siemens’s financial guarantees and

the risk-free structure of an energy performance contract, Siemens misrepresented critical

information regarding the technical components and implementation of the system. Siemens

represented to the City that “the Mueller system will be a great long term solution for Jackson

which is evident in our guarantee of revenues associated with the system.”           Despite that

representation, Siemens did not disclose that it had never installed a Mueller water meter system

for use in conjunction with an Oracle Customer Care & Billing System. Siemens essentially

used the City of Jackson as a $90 million test case for an unproven system, failing to disclose to

the City that Siemens had never successfully paired the two systems before. Siemens also failed

to disclose that installing a new automated water meter system at the same time as a new

electronic billing system is unprecedented and is contrary to industry standards. The City relied

on Siemens, the supposed expert on these types of projects, yet Siemens failed to disclose

material information regarding the project’s components and implementation.

       37.     To induce the City to enter into a contract with Siemens, Siemens representative

McNeil also represented to the City that more than 50% of the total project cost would comply

with the City’s EBO plan by utilizing minority-owned businesses in performing aspects of the

project.   In September 2012, Siemens submitted an application to the City’s EBO Office

representing that 58% of the project cost would be subcontracted to minority-owned businesses.

Siemens acknowledged that the minority-owned businesses involved in the project would, per

the requirements of the City’s EBO plan, perform a “commercially useful function” by being

responsible for a distinct element of the work and by actually performing, managing, and




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supervising the work involved. Siemens also represented to the City that Siemens would mentor

and train the minority-owned businesses involved in the project.

       38.    In October 2012, relying on Siemens’s and McNeil’s promises of increased

revenue and savings and involvement of minority-owned businesses, the City Council approved

entering into a contract with Siemens to upgrade the City’s water system. In doing so, the City

relied on Siemens’s representations (as detailed above) that increased revenue and savings would

pay for the cost of the project, and that Siemens would pay the City for any shortfall in the

guaranteed revenue and savings. The City later discovered, however, that Siemens manipulated

the contracting process and provided illusory guarantees to the City in order to secure the

contract.

B.     Siemens Imposes a Contract Structure Burdened by $90 Million in Upfront Costs
       and Illusory Guarantees.

       39.        Siemens and McNeil pitched the Siemens project to the City as an energy

performance contract.      Energy performance contracts are subject to public contracting

requirements and are regulated by the State of Mississippi through the Mississippi Development

Authority (“MDA”). Despite presenting its project as an energy performance contract, however,

Siemens created a contract structure that fails to deliver the guaranteed energy performance and

savings promised by Siemens and required by law for such regulated contracts.

       40.    The City and Siemens entered into what was called the Performance Contracting

Agreement (the “Agreement”), dated January 30, 2013, but signed by former Mayor Harvey

Johnson on December 28, 2012. The Agreement was amended four times to address specific

issues. A copy of the Agreement, with Amendments 1, 2, 3, and 4, is attached as Exhibit A to

this Complaint.




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       41.    The Agreement required Siemens to “install an Automatic Metering System to

provide hourly reads.” See Amendment No. 4 at § 1.2.1. The required components of the

automatic metering system included 60,000 water meters with remote transmitters, 4,700 backup

water meters for inventory, 60 data hub collectors, and 900 network repeaters. See id. In

addition, the Agreement called for Siemens to implement a new billing and payment system,

referred to as the Oracle Customer Care & Billing (CC&B) System, as part of the meter

upgrades. Siemens was obligated to develop and install the new billing software module and

server, transfer billing account data from the existing billing system to the CC&B System, and

provide training and technical support for the new automatic metering and billing system. See

id. Among other specific obligations, Siemens agreed to “provide training and administrative

support prior to Substantial Completion of the Project to ensure a functional system.” See id.

(emphasis added).

       42.    Despite its repeated representations regarding a performance contract with

guaranteed revenue and savings, Siemens created a deal structure that required the City to pay

$90 million in upfront installation costs and another $4.5 million for Siemens to measure what

were essentially illusory performance guarantees. The “Performance Guarantee” from Siemens

states that “the increase in billable usage over the Baseline … , through more accurate

measurement, will be equal to or exceed the total Project Cost” of $90 million. See Agreement

at Exhibit C, § 1.3. Table 1.2 of the Agreement identifies $122 million in guaranteed savings,

broken down by billable usage increase, operational savings, and deferred maintenance savings:




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       43.     This performance guarantee structure imposed by Siemens contains purported

“savings” that are illusory and not based on reality. The alleged savings from large meter usage

increases, operational reductions, and deferred maintenance are not based on actual savings or

revenue, but rather on amounts that are assumed to occur over the 15-year period covered by the

contract. As a result, only the small meter revenue increase is subject to an actual measurement

of performance for each annual period. And even under that component, Siemens measures its

own performance and does not compare the alleged usage increases to actual revenue collected

by the City. Siemens thus created a performance contract structure with no real performance

guarantees, and with 65% (around $80 million) of the $122 million in purported savings based

on amounts that will never be measured to determine if the savings actually occurred.

       44.     Compounding the illusory nature of Siemens’s performance guarantees, Siemens

is charging the City another $4.5 million to measure its own yearly performance. If the City fails



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to pay for the ongoing Performance Assurance Program, Siemens will not guarantee the

purported savings promised under the Agreement. Siemens thus is charging the City $4.5

million for a self-evaluation of performance metrics that do not reflect the City’s actual collected

revenue and realized savings. Knowing the City lacked the technical expertise to evaluate fully

Siemens’s proposal, Siemens was able to effectuate a “bait-and-switch” that fell short of a true

energy performance contract with guaranteed savings and revenue that would pay for the cost of

the project.

C.     Siemens Manipulates EBO Plan Requirements by Using a Fraudulent Pass-Through
       Scheme.

       45.     On top of Siemens’s misrepresentations and illusory guarantees in violation of

energy performance contracting requirements, Siemens’s “bait-and-switch” scheme was

facilitated by its manipulation of EBO plan requirements. To induce the City to enter into the

Agreement, Siemens representatives, including McNeil, represented that minority-owned

businesses would be utilized for 58% of the $90 million project cost. Yet Siemens and McNeil

never intended to live up to that promise. Instead, Siemens and McNeil conspired with the other

Defendants and concocted an EBO pass-through scheme in which Siemens utilized sham

subcontractors to obtain approval of the Agreement.

       46.     Siemens submitted a plan to use several minority-owned businesses as

subcontractors for the project to satisfy its 58% commitment. As part of the EBO plan, Siemens

purported to engage U.S. Consolidated, Inc. and/or U.S. Consolidated Group LLC (“U.S.

Consolidated”), a company owned and managed by former Mississippi state politician and

lobbyist Tom Wallace, as a subcontractor responsible for supplying the water meters for the

project. Siemens representatives, including McNeil, represented to the City that Siemens would

pay U.S. Consolidated approximately $19 million for water meter supply and logistics. At the



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conclusion of the project, Siemens claimed that it ended up paying U.S. Consolidated

approximately $19.5 million for its work on the water project.

       47.      However, in reality, Siemens and McNeil brought in U.S. Consolidated as a pass-

through entity involved in the supply of water meters on paper only. Siemens carried out its

scheme by having U.S. Consolidated buy the water meters from the manufacturer, Mueller

Systems, and then sell the meters to Siemens at a marked-up price for installation by yet another

subcontractor. Siemens thus conspired with U.S. Consolidated, a minority-owned business, to

use U.S. Consolidated as the water meter middleman to funnel the meters to Siemens as part of a

fraudulent EBO scheme, all at an increased cost to the City.        Siemens simply used Tom

Wallace’s company as a pass-through entity to inflate the EBO participation percentage for the

project. For its part, U.S. Consolidated received nearly $20 million for doing nothing more than

serving as a middleman for water meters that were manufactured and installed by other

companies.

       48.      Siemens and McNeil used other sham contractors in the EBO pass-through

scheme.      Siemens and McNeil represented to the City that M.A.C. & Associates, LLC

(“M.A.C.”), a minority-owned business owned and managed by Marcus Wallace, would be paid

approximately $19 million as a subcontractor responsible for water plant and sewer line repairs

and installation of the new water meters. In reality, Hemphill Construction, Inc. performed most

of the water plant and sewer line repairs, either through a separate subcontract with Siemens or

through a second-tier subcontract with M.A.C. At the direction of Siemens, Pedal Valve, Inc.

also performed a substantial portion of the water meter installation work through a subcontract

with Siemens or a second-tier subcontract with M.A.C. Because M.A.C. was not qualified to

perform the work assigned to it on paper as part of Siemens’s EBO scheme, Hemphill and Pedal




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Valve actually performed the work, which increased the costs to the City. Siemens and McNeil

falsely claimed that M.A.C. was providing a commercially useful function as a qualified EBO

contractor even though other contractors actually performed the work. M.A.C. conspired with

Siemens and agreed to serve as a pass-through entity in return for receiving $19 million.

       49.     Similarly, Siemens and McNeil represented that Ivision IT Consultants LLC

(“Ivision”), a minority-owned business owned and managed by James Covington, was paid

approximately $11 million as a subcontractor responsible for implementing the new CC&B

billing system. However, another company ended up performing most of that work, and it is

unclear what role, if any, Covington’s company actually played in performing or managing the

implementation of the billing system. Ivision was paid $11 million for simply serving as a pass-

through entity for Siemens’s EBO scheme.

       50.     Finally, Siemens and McNeil represented to the City that Garrett Enterprises

Consolidated, Inc. (“Garrett”), a minority-owned business owned and operated by Socrates

Garrett, was paid $4.6 million to perform construction management and quality control services.

However, it is unclear what services, if any, Garrett actually performed and how those services

provided any commercially useful function for the project and benefit to the citizens of Jackson.

Like the other sham subcontractors, Garrett received millions of dollars to serve as a pass-

through entity under Siemens’s fraudulent EBO plan.

       51.     The City approved the Siemens project based on Siemens’s and McNeil’s

fraudulent representations regarding Siemens’s EBO plan commitments. Instead of abiding by

its promise to hire minority-owned businesses to perform 58% of the $90 million contract,

Siemens used unqualified, sham subcontractors based on their political connections and

influence to carry out a pass-through scheme that ultimately cost the City millions of dollars in




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inflated costs for an already overpriced water system. Siemens’s selection of unqualified EBO

subcontractors resulted in shoddy work that contributed to problems with the current water

system and deprived other qualified EBO businesses the opportunity to perform the work.

D.     Siemens Continues to Make False Representations and Conceal Material
       Information After the Agreement is Signed.

       52.    Even after the Agreement was executed, Siemens continued its pattern of

deceptive conduct and misrepresentations to obtain approval of the Agreement by the MDA, to

convince the City to issue a notice to proceed with the work, and to induce the City to continue

to make payments to Siemens during the course of the project. Siemens effectively ghost-wrote

the City’s responses to questions from the MDA and directed the project through the MDA

approval process. In doing so, the City relied on information provided by Siemens in responding

to questions from the MDA.        Among other issues, in response to the MDA’s questions

concerning large water meters and how the meters would be measured and verified, Siemens

representative McNeil told the City and the MDA in March 2013 that the accuracy of the large

meters will not degrade over time, and the large meters will always have an accuracy rate of at

least 99.6%. As a result, according to Siemens and McNeil, there is no need to measure and

verify the accuracy of the large meters. Unknown to the City at the time, inaccurate readings

from the large meters would be a consistent problem after the system was implemented.

       53.    In addition, to convince the City to issue a notice to proceed with the project,

Siemens representative McNeil assured the City Council in July 2013 that the City would

immediately begin to realize savings and increased revenue as soon as the Siemens project

began, which would allow the City to pay for its debt service during the construction period and

over the course of the City’s loan repayment. Specifically, at a City Council meeting on July 22,

2013, McNeil was asked whether the City will start to realize savings as soon as construction



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begins, and how long it will take to start realizing savings. In response, McNeil informed the

City Council: “Right when we get started, it’s immediate. … You’re relying upon savings

created by us starting work right now.” When again asked whether the City will begin to realize

savings as soon as Siemens starts work on the project, so that the City can begin using the

savings to cover its debt payments, McNeil responded, “Yes, without a doubt.” The City relied

on Siemens’s and McNeil’s promises of immediate, guaranteed savings in authorizing

commencement of the project.

       54.    To induce the City to continue to make payments to Siemens during the course of

the project, Siemens also misrepresented the status of the project and concealed serious defects

in the system. First, the City has become aware of information indicating that the Mueller water

meters and associated equipment installed by Siemens have manufacturing and/or design defects,

resulting in meter reading failures at a rate far in excess of the industry standard. Mueller’s

shareholders have filed a federal securities class action lawsuit against Mueller alleging that

Mueller misrepresented the nature and scope of serious defects in its water meters and automated

meter system, exposing Mueller to claims by various counties and municipalities that installed

the defective Mueller equipment. According to filings by Mueller’s shareholders, Mueller was

aware of crippling defects in its water meters and increasing failure rates associated with its

meters beginning in January 2016, at the latest. In April 2016, Mueller representatives even

informed the San Diego public utility department about a defect in the gears of the Mueller water

meter’s register that could prevent a dial from turning properly, preventing the meter from

relaying water use remotely. Other jurisdictions, including Missouri water districts, discovered

that Mueller water meters installed between 2012 and 2015 had either a defective magnetic

design or problems with other meter components, resulting in premature failure rates associated




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with nearly 100,000 Mueller meters. Mueller executives acknowledged these defects in 2016

and 2017, noting that meters produced between 2011 and 2014 were failing at a higher than

expected rate, particularly meters installed in warm, humid environments. Although Mueller

claimed to have later error-proofed the manufacturing process to prevent this defect from

continuing to occur, the defective Mueller meters were already installed in the City of Jackson,

and neither Siemens nor Mueller disclosed these defects to the City. The defects acknowledged

by Mueller apply to Mueller-Hersey meters manufactured between 2011 and 2014, which covers

the meters installed by Siemens for the City.

       55.     Second, the City eventually learned through trial and error that, as designed and

implemented by Siemens, the Mueller automated water meter system was incompatible with the

Oracle Customer Care and Billing System, revealing a fatal design defect that destroyed the

functionality of the system. Communication between the Mueller meters and the CC&B billing

system has never worked properly due to faulty meters and an improperly-configured master

meter file. As designed and implemented by Siemens, the master meter file hosted by the

Mueller MIHost system did not work. Even if meters were providing readings (and thousands

were not doing so), those readings were not reaching the billing system because of

coding/software configuration errors.

       56.     These problems with system should have been corrected by Siemens and its

subcontractors before the system was handed over to the City. Even more alarming, Siemens

knew that the water meter and billing system suffered from inherent defects while the project

was ongoing, yet it worked to conceal these problems from the City and misrepresented that the

system was working properly. Throughout 2016, 2017, and 2018, Siemens concealed this vital

information from the City while the City worked diligently to figure out the problems with the




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system. In 2016 and 2017, Siemens representative Frank Gagliardi repeatedly represented that

the billing system was working and was communicating correctly with the Mueller meters,

including Gagliardi’s representations to the City Council in May 2016. Siemens even sent

notices to the City representing that the project was complete and the system was functional—

including a notice of substantial completion in 2018—despite Siemens knowing that the system

was plagued by problems that would continue to interfere with the City’s revenue collection

efforts. In short, Siemens told the City that the project’s implementation was a success and that

the system was working despite knowing that the meter equipment suffered from crippling

defects and the system was not functional.

E.     Siemens Provides a Flawed Metering and Billing System that Fails to Deliver
       Increased Revenue and Savings.

       57.    In addition to the Agreement being tainted by Siemens’s fraud and failure to

disclose material defects in the system, the Siemens project was plagued by technical problems

from the start. At the time Siemens handed over a system that it claimed to be functional, more

than 20,000 of the 60,000 meters installed by Siemens were not functioning correctly or did not

satisfy the required specifications, causing delays in the project and problems with accurately

measuring and billing for water usage by the City’s customers. The entire project was delayed in

early 2015 when the City discovered that Siemens had installed meters that read in gallons

instead of the appropriate cubic-feet reading. Absent the City catching Siemens’s mistake, the

incorrect meters would have resulted in drastically-higher and inaccurate bills to the City’s

customers.

       58.    Shortly after the new billing system went live in 2015, the City began to

accumulate a backlog of thousands of “stranded bills,” which continues to grow even as the City

works to clear those bills. The billing system has caused many customers to receive inexplicably



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high bills that do not reflect their actual water usage. In other instances, customers may receive

no bill at all for significant periods of time, only to eventually receive an unusually high bill

based on months of purported water usage. These issues have caused customers to contest bills

or lack the ability to pay them, while other customers fail to receive bills at all.

       59.     Billing and measurement problems continue to this day. The City estimates that

at least 10,000 of the 60,000 new meters are not functioning correctly, resulting in numerous

unpaid accounts and water usage that is not accurately captured. Meters are either installed

incorrectly, not transmitting readings, or not communicating with the Mueller network and/or

billing system. Thousands of bills continue to become “stranded” in the system, which has been

a pattern since the billing system went live in 2015. Siemens never fixed the system problems

during “stranded bill relief efforts” in 2016 and 2018, which were supposed to remedy meter and

billing problems affecting more than 20,000 accounts. Instead, system problems persist, often

requiring manual overrides of what were designed to be “automated” processes. On top of the

inherent defects and implementation problems with the Siemens system, the City’s operations

and maintenance costs for the water meter system have actually increased, contrary to Siemens’s

promises that the automated system would decrease costs. The City has to add skilled workers to

run the system, and the system needs additional maintenance and support not required by the

City’s old manual system. In short, the Siemens system has been an abject failure, and the

citizens of Jackson have lost faith in the water billing system as a result.

       60.     The technical problems with the Siemens project were exacerbated by Siemens’s

hiring of—and failure to supervise appropriately—unqualified contractors. For example, neither

U.S. Consolidated, nor M.A.C., nor Ivision was qualified to perform the work that Siemens

purportedly hired the companies to perform. Siemens’s use of unqualified subcontractors not




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only resulted in performance issues, but also inflated the costs of the project. With regard to the

materials and work furnished by or through U.S. Consolidated, M.A.C., Ivision, and Garrett—

under Siemens’s negligent management and supervision—the work and materials were defective

and contributed to the numerous technical problems with the Siemens water system that continue

to this day.

        61.     The Siemens project has devastated the City’s finances. The City has fallen well

short of its budgeted revenue target for water and sewer services since Siemens installed the new

water system. In addition to being saddled with paying more than $200 million for the defective

system, the City has lost revenue of more than $175 million due to the defective system. On top

of those losses, the City has funded more than $75 million for system stabilization, repairs, and

ongoing maintenance and operations costs. All told, preliminary calculations place the City’s

losses at more than $450 million.

                                     VI. CAUSES OF ACTION

                        Count One – Fraud and Fraud in the Inducement

        62.     Plaintiff incorporates all prior paragraphs into this section, to the extent not

inconsistent, as if fully set forth herein.

        63.     During discussions before execution of the Agreement and in meetings and

presentations seeking to obtain the City’s approval of the water and sewer system project,

Siemens and McNeil misrepresented to the City that: (a) guaranteed savings and revenue from

upgrading the City’s water meter and billing system will pay for the cost of the $90 million water

improvement project and the City’s cost of financing the project; (b) due to the guaranteed

savings and revenue from upgrading the City’s water system there is no financial downside or

financial risk for the City in hiring Siemens to install the new water meter and billing system; (c)




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Siemens will utilize and pay minority-owned businesses to perform 58% of the total $90 million

contract price for the water system improvement project and such minority-owned businesses

will perform a “commercially useful function,” pursuant to the City’s EBO plan, by being

responsible for a distinct element of the work and actually performing, managing, and

supervising the work involved; and (d) Siemens will mentor, train, and manage the minority-

owned businesses involved in the project.

       64.      Among other specific misrepresentations, Siemens representative McNeil falsely

promised and represented in oral and written statements to the City throughout 2011, 2012, and

2013—including in January 2011, October 2011, January 2012, February 2012, March 2012,

July 2012, October 2012, and July 2013—that guaranteed increases in revenue and decreases in

operating expenses would pay for the cost of the Siemens water meter and billing project; that

the project would greatly reduce the City’s operating costs and minimize the amount of

personnel needed to operate the water meter and billing system; that Siemens would take all of

the risk on the project; that Siemens would guarantee the City’s collection of actual monetary

revenue, not just the accuracy of water meters installed by Siemens; that the large water meters

are so accurate that they do not need be measured and would maintain an accuracy rate of at least

99.6%; that Siemens would pay the City for any shortfalls in increased revenue to cover the cost

of the project, such that if there is a shortfall in increased revenue from the project, Siemens

would write a check back to the City for the difference; and that the savings realized by the City

would start immediately after construction began, allowing the City to pay its debt service

payments from the savings.        Siemens and McNeil made these statements to various

representatives of the City, including City Council members and City employees Dan Gaillet and

David Willis.




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       65.     Siemens and its subcontractor, Mueller, also misrepresented and failed to disclose

the condition of the water meters and associated equipment and the status of implementation of

the system. On information and belief, the Mueller water meters and associated equipment

installed by Siemens have manufacturing and/or design defects, resulting in meter reading

failures at a rate far in excess of the industry standard. On information and belief, the Mueller

automated water meter system also was incompatible with the Oracle Customer Care and Billing

System, revealing a fatal design defect that destroyed the functionality of the system. Neither

Siemens nor its subcontractor, Mueller, disclosed this material information to the City and

instead concealed the inherent defects in the system while blaming the City for any problems

with the system’s implementation and functionality. In 2018, Siemens sent notices to the City

misrepresenting that the project was complete and the system was functional, despite knowing

that the system was plagued by crippling defects and implementation problems. Specifically,

Siemens representatives Frank Gagliardi and Cory Carter misrepresented the status of the project

and the functionality of the system. On information and belief, Siemens knew that the meter to

billing interface did not work when Siemens sent completion notices to the City and asked the

City to sign off on the project in 2018.

       66.     Siemens also misrepresented and failed to disclose material facts regarding the

system’s design and the project implementation. Siemens represented to the City that the

Mueller automated meter system would be the best long-term solution for the City, yet Siemens

failed to disclose that it had never installed a Mueller water meter system to be used in

conjunction with an Oracle Customer Care & Billing System, and Siemens had never paired the

two systems before and ensured that the systems would communicate correctly. Siemens also




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failed to disclose that installing a new automated water meter system at the same time as a new

electronic billing system is unprecedented and is contrary to industry standards.

       67.     The above referenced statements, misrepresentations, deceptive conduct, and

nondisclosures were made by Siemens, McNeil, and Mueller with actual knowledge that they

were false.    Alternatively, the above referenced statements, misrepresentations, deceptive

conduct, and nondisclosures were made recklessly, as a positive assertion, and without

knowledge of their truth.

       68.     The above referenced statements, misrepresentations, deceptive conduct, and

nondisclosures were material to the City’s decision to enter into the Agreement, to authorize

Siemens to make improvements to the City’s water and sewer system, and to continue to pay

Siemens for its work on the project. Siemens, McNeil, and Mueller made the above referenced

statements, misrepresentations, deceptive conduct, and nondisclosures with the intention that the

City act upon them and enter into the Agreement, and the City relied on the above referenced

statements and misrepresentations in entering into the Agreement, in authorizing Siemens to

make improvements to the City’s water and sewer system, and in continuing to pay Siemens over

the course of the project.

       69.     As a result of Siemens’s, McNeil’s, and Mueller’s false representations,

nondisclosures, and deceptive conduct, the City has incurred damages for which it now sues.

The City requests that Siemens, McNeil, and Mueller be held jointly and severally liable and be

ordered to disgorge all revenue and funds received from the City and pay all actual and

consequential damages resulting from their wrongful conduct, including but not limited to the

$90 million paid to Siemens in connection with the Agreement, and the City’s lost revenue, debt

service costs, loss of credit, damage to credit rating and reputation, investigation and remediation




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costs, and repair costs. The City also seeks punitive damages due to Siemens’s, McNeil’s, and

Mueller’s fraud.

                            Count Two – Negligent Misrepresentation

        70.     Pleading affirmatively and in the alternative, Plaintiff incorporates all prior

paragraphs into this section, to the extent not inconsistent, as if fully set forth herein.

        71.     Siemens and McNeil misrepresented to the City that upgrading the City’s water

meter and billing system will result in guaranteed savings and revenue that will cover the costs of

the $90 million water improvement project and the City’s cost of financing the project, and that

due to Siemens’s guarantee of savings and revenue there is no financial downside or risk for the

City in hiring Siemens to install the new water meter and billing system.

        72.     Among other specific misrepresentations, Siemens representative McNeil falsely

represented in oral and written statements throughout 2011, 2012, and 2013—including in

January 2011, October 2011, January 2012, February 2012, March 2012, July 2012, October

2012, and July 2013—that guaranteed increases in revenue and decreases in operating expenses

would pay for the cost of the Siemens water meter and billing project; that the project would

greatly reduce the City’s operating costs and minimize the amount of personnel needed to

operate the water meter and billing system; that Siemens would take all of the risk on the project;

that Siemens would guarantee the City’s collection of actual monetary revenue, not just the

accuracy of water meters installed by Siemens; that the large water meters are so accurate that

they do not need be measured and would maintain an accuracy rate of at least 99.6%; that

Siemens would pay the City for any shortfalls in increased revenue to cover the cost of the

project, such that if there is a shortfall in increased revenue from the project, Siemens would

write a check back to the City for the difference; and that the savings realized by the City would




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start immediately after construction began, allowing the City to pay its debt service payments

from the savings. Siemens and McNeil made these statements to various representatives of the

City, including City Council members and City employees Dan Gaillet and David Willis.

       73.     Siemens and its subcontractor, Mueller, also misrepresented and failed to disclose

the condition of the water meters and associated equipment and the status of implementation of

the system. On information and belief, the Mueller water meters and associated equipment

installed by Siemens have manufacturing and/or design defects, resulting in meter reading

failures at a rate far in excess of the industry standard. On information and belief, the Mueller

automated water meter system also was incompatible with the Oracle Customer Care and Billing

System, revealing a fatal design defect that destroyed the functionality of the system. Neither

Siemens nor its subcontractor, Mueller, disclosed this material information to the City and

instead concealed the inherent defects in the system while blaming the City for any problems

with the system’s implementation and functionality. In 2018, Siemens sent notices to the City

misrepresenting that the project was complete and the system was functional, despite knowing

that the system was plagued by crippling defects and implementation problems. Specifically,

Siemens representatives Frank Gagliardi and Cory Carter misrepresented the status of the project

and the functionality of the system. On information and belief, Siemens knew that the meter to

billing interface did not work when Siemens sent completion notices to the City and asked the

City to sign off on the project in 2018.

       74.     Siemens also misrepresented and failed to disclose material facts regarding the

system’s design and the project implementation. Siemens represented to the City that the

Mueller automated meter system would be the best long-term solution for the City, yet Siemens

failed to disclose that it had never installed a Mueller water meter system to be used in




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conjunction with an Oracle Customer Care & Billing System, and Siemens had never paired the

two systems before and ensured that the systems would communicate correctly. Siemens also

failed to disclose that installing a new automated water meter system at the same time as a new

electronic billing system is unprecedented and is contrary to industry standards.

        75.     Siemens and McNeil failed to exercise reasonable care in making the above

referenced statements and misrepresentations.

        76.     The above referenced statements and misrepresentations were material to the

City’s decision to enter into the Agreement, to authorize Siemens to install the water meter and

billing system, and to continue to pay Siemens for its work on the project. The City relied on the

above referenced statements and misrepresentations in entering into the Agreement, in

authorizing Siemens to proceed with installing the water meter and billing system, and in

continuing to pay Siemens for its work on the project.

        77.     As a result of Siemens’s and McNeil’s misrepresentations, the City has incurred

damages for which it now sues. The City requests that Siemens and McNeil be held jointly and

severally liable and be ordered to pay all actual and consequential damages resulting from their

wrongful conduct, including but not limited to the City’s lost revenue, debt service costs, loss of

credit, damage to credit rating and reputation, investigation and remediation costs, and repair

costs. The City also seeks punitive damages as Siemens’s and McNeil’s misrepresentations

constitute gross negligence.

                                  Count Three – Civil Conspiracy

        78.     Pleading affirmatively and in the alternative, Plaintiff incorporates all prior

paragraphs into this section, to the extent not inconsistent, as if fully set forth herein.




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        79.     Siemens and McNeil conspired with Mueller, U.S. Consolidated, M.A.C., Ivision,

and Garrett to accomplish unlawful purposes, including but not limited to the acts, omissions,

and torts described in this Complaint, and to accomplish lawful purposes by unlawful means,

including but not limited to the acts, omissions, and torts described in this Complaint. The

Defendants’ conspiracy includes, but is not limited to, the fraudulent EBO pass-through scheme

described in this Complaint.

        80.     The Defendants had a meeting of the minds on the object or course of action, and

at least one member of each conspiracy committed at least one unlawful, overt act to further the

object or course of action.

        81.     The City suffered injury as a proximate result of the Defendants’ wrongful acts,

including the fraud and other torts described in this Complaint.

        82.     The City requests that the Defendants be held jointly and severally liable and be

ordered to disgorge all revenue and funds received from the City and pay all actual and

consequential damages resulting from their wrongful conduct, including but not limited to the

$90 million paid to Siemens in connection with the Agreement, and the City’s lost revenue, debt

service costs, loss of credit, damage to credit rating and reputation, investigation and remediation

costs, and repair costs. The City also seeks punitive damages due to the Defendants’ fraud,

malice, and gross negligence.

                                      Count Four – Negligence

        83.     Pleading affirmatively and in the alternative, Plaintiff incorporates all prior

paragraphs into this section, to the extent not inconsistent, as if fully set forth herein.

        84.     Siemens owed legal duties to the City in connection with the design and

installation of the water meter and billing system. Siemens breached its duties and obligations to




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the City by failing to provide adequate design, services, management, and oversight, and by

failing to furnish and install a water meter and billing system that was free of defects in design,

work, and materials and that worked correctly with regard to both the physical equipment and

software.

       85.     Siemens breached its duties owed to the City by, among other reasons: (a) failing

to adequately design the water meter and billing system to ensure the proper installation of

equipment and the correct functioning of the equipment and software; (b) failing to adequately

design the water meter and billing system to ensure that the system was appropriate for the City’s

resources and infrastructure and could be managed and operated by the City’s personnel; (c)

failing to responsibly and properly represent the City during installation of the water meter and

billing system by using Siemens’s professional skill and supervision; (d) failing to guard against

defects and deficiencies in the work in a manner consistent with Siemens’s standard of care; (e)

failing to determine in general if the work, when fully completed, would be in accordance with

applicable codes, regulations, and industry standards; (f) failing to use ordinary care, skill, and

judgment in the installation of the water meters and billing system; (g) failing to use ordinary

care, skill, and judgment in the selection of tradesman and subcontractors for installation of the

water meters and billing system; and (h) failing to use ordinary care, skill, and judgment in

inspecting the products and work for the water meter and billing project.

       86.     Mueller, U.S. Consolidated, M.A.C., Ivision, and Garrett owed legal duties to the

City in connection with the materials and services they provided for the water meter and sewer

system improvement project for the City, including the sale and installation of the new water

meters, the implementation of the new water billing system, and the repairs to the City’s sewer

lines and water treatment plants. Mueller, U.S. Consolidated, M.A.C., Ivision, and Garrett




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breached their duties and obligations to the City by failing to provide adequate services and

materials and by failing to furnish and install a water meter and billing system that was free of

defects in design, work, and materials and that worked correctly with regard to both the physical

equipment and software.

        87.       The Defendants’ breaches of their duties and standards of care proximately

caused injury to the City, resulting in damages to the City, including but not limited to

investigation and remediation costs, repair costs, loss of use, lost revenue, lost efficiency, loss of

credit, damage to credit rating and reputation, and other actual and consequential damages. The

City also seeks punitive damages as the Defendants’ conduct rises to the level of gross

negligence.

                 Count Five – Breach of Implied Warranty of Good Workmanship

        88.       Pleading affirmatively and in the alternative, Plaintiff incorporates all prior

paragraphs into this section, to the extent not inconsistent, as if fully set forth herein.

        89.       Siemens impliedly warranted that it was a careful and competent manager and

contractor, and that it would provide construction services and project management in a good

and workmanlike manner. Siemens did not provide such services in a good and workmanlike

manner because the water meter and billing system installed by Siemens is inaccurate, flawed,

and deficient.

        90.       The City relied on Siemens’s implied warranties. Siemens’s breach of implied

warranties directly and proximately caused injury to the City, resulting in damages to the City,

including investigation and remediation costs, repair costs, loss of use, lost revenue, lost

efficiency, and other actual and consequential damages.




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                                  Count Six – Unjust Enrichment

        91.     Pleading affirmatively and in the alternative, Plaintiff incorporates all prior

paragraphs into this section, to the extent not inconsistent, as if fully set forth herein.

        92.     The Defendants have unjustly enriched themselves, to the City’s detriment, by the

acts, omissions, and torts described in this Complaint.

        93.     The City paid Siemens more than $90 million for the installation of an automatic

water meter system and online billing and payment system that is inaccurate, flawed, defective,

and otherwise deficient as described in this Complaint, and the project was awarded to Siemens

based on the Defendants’ fraudulent misrepresentations. In addition, on information and belief,

the other Defendants received millions of dollars for their participation in a fraudulent

conspiracy with Siemens and for serving as pass-through, sham subcontractors on the Siemens

project, which resulted in a water meter and billing system that is inaccurate, flawed, and

otherwise defective as described in this Complaint. Specifically, Garrett received more than $4.6

million, Ivision received more than $11 million, MAC received more than $18.8 million, U.S.

Consolidated received more than $19.5 million, and Mueller received more than $1 million (with

substantially more received by Mueller from the sale of its defective meters and associated

equipment).

        94.     The Defendants’ retention of the City’s funds is unconscionable, and such funds

belong to the City in equity and good conscience. The City requests that the Defendants be

ordered to provide full restitution, disgorge all revenue and wrongfully-obtained funds, and pay

all actual and consequential damages resulting from their wrongful conduct and retention of

funds which in good conscience and equity belong to the City.




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                               Count Seven – Declaratory Judgment

        95.     Pleading in the alternative, Plaintiff incorporates all prior paragraphs into this

section, to the extent not inconsistent, as if fully set forth herein.

        96.     To the extent that the Agreement is enforced despite Siemens’s fraud, the City

seeks a declaration to clarify its rights and obligations and determine the validity and

enforceability of certain aspects of the Agreement.

        97.     Specifically, the City seeks a declaration from the Court that the provisions of the

Agreement related to the Performance Assurance and Guaranteed Savings (as those terms are

defined in the Agreement) are invalid and unenforceable as written because the provisions fail to

comply with Mississippi Code § 31-7-14 and because the provisions violate Article 4, § 100 of

the Mississippi Constitution by purporting to require the City to waive or diminish its statutory

rights related to energy performance contracts.          To constitute a valid energy performance

contract under Mississippi Code § 31-7-14, the Agreement must provide actual guaranteed

monetary savings to the City, and Siemens’s illusory guarantees regarding savings in the

Agreement render those provisions invalid and unenforceable. The City seeks a declaration from

the Court that Siemens thus is liable, as required by Mississippi law and public policy, to

reimburse the City for the City’s loss of actual revenue and savings over the 15-year period since

the system was installed.

        98.     The City also seeks a declaration that the following provisions of the Agreement

are invalid and cannot be enforced against the City under Article 4, § 100 of the Mississippi

Constitution: (a) section 12.6 of the Agreement and the provision in the introductory section of

the Agreement stating that the Agreement “supersedes all prior and contemporaneous

negotiations, statements, representations, agreements, letters of intent, awards, or proposals,




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either written or oral relative to the same,” to the extent such provisions purport to waive, limit,

or diminish the City’s ability to assert claims for damages based on Siemens’s false

representations and non-disclosures as described in this Complaint; (b) section 4.7 of the

Agreement, to the extent it purports to limit Siemens’s liability or waive or diminish the City’s

claims for damages; (c) section 4.8 of the Agreement, to the extent it purports to limit Siemens’s

liability, cap the City’s damages, or waive or diminish any of the City’s claims or damages; (d)

sections 5.7 and 5.8 of the Agreement, to the extent those sections purport to waive, limit, or

diminish any warranties or the City’s claims and damages related to any warranties; and (e)

section 9.1(e) of the Agreement, which purports to waive, limit, and diminish the City’s claims

related to completion of the project.

                                     Count Eight – Breach of Contract

        99.     Pleading in the alternative, Plaintiff incorporates all prior paragraphs into this

section, to the extent not inconsistent, as if fully set forth herein.

        100.    To the extent that the Agreement is enforced as written despite Siemens’s fraud

and failure to comply with applicable Mississippi law governing energy performance contracts as

described in this Complaint, the City asserts in the alternative that the Agreement constitutes a

valid, binding, and enforceable contract between Siemens and the City, and the City has

performed its obligations under the Agreement.

        101.    Siemens breached the Agreement by, among other reasons, failing to: (a) provide

a fully-functioning and accurate Automatic Metering System and billing system; (b) provide the

requisite training and administrative support to ensure a functional water metering and billing

system; (c) properly install certain water meters and associated equipment; (d) install meters and

associated equipment that are of good quality and free from defects, including manufacturing




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and/or design defects; (e) ensure that, as designed and installed by Siemens, the Mueller

automated water meter system was compatible with the Oracle Customer Care and Billing

System and that the systems were able to communicate information correctly and consistently;

(f) ensure that customer billing account data was properly transferred and set up in the new

billing system; (g) properly upload new meter change information into the existing Customer

Information System prior to implementation of the new customer care and billing software

module and server; (h) properly develop and install a new customer care and billing software

module and server; (i) provide full commissioning and verification of the system; and (j) conduct

all work in a workmanlike manner.

        102.    As a result of Siemens’s breach of its contractual duties, the City has incurred

money damages for which it now sues.

               Count Nine – Breach of Covenant of Good Faith and Fair Dealing

        103.    Pleading in the alternative, Plaintiff incorporates all prior paragraphs into this

section, to the extent not inconsistent, as if fully set forth herein.

        104.    To the extent the Agreement is enforced as written despite Siemens’s fraud and

failure to comply with applicable Mississippi law governing energy performance contracts as

described in this Complaint, Siemens owed and continues to owe the City a duty of good faith

and fair dealing in connection with the Agreement, which is implied in all contracts. As

described in this Complaint, Siemens breached such duty by failing to act consistently with the

justified expectations of the City and by failing to act with decency, fairness, and reasonableness

in its dealings with the City, including by charging the City more than $90 million for a water

system upgrade that is deficient and for which Siemens cannot provide tangible performance

guarantees, increased revenue, and cost savings to the City.




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       105.   As a result of Siemens’s breach of its duty of good faith and fair dealing, the City

has incurred money damages for which it now sues. The City requests that Siemens be ordered

to disgorge all profits and wrongfully-obtained funds, and pay all actual and consequential

damages, resulting from Siemens’s breach of its duty of good faith and fair dealing. The City

also requests punitive damages.

                      VII. AGENCY AND ALTER EGO LIABILITY

       106.   Siemens Corporation and Siemens Industry, Inc. are wholly owned subsidiaries of

Siemens AG. Siemens Corporation is the direct parent of Siemens Industry, Inc.

       107.   On information and belief, Siemens Corporation and Siemens Industry, Inc. are

controlled by Siemens AG, with Siemens Corporation directly controlling Siemens Industry, Inc.

On information and belief, Siemens Corporation is the sole beneficiary and recipient of the

revenue and profits generated by Siemens Industry, Inc., while Siemens AG is the sole

beneficiary and recipient of the revenue and profits generated by Siemens Corporation.

       108.   Siemens Corporation executed a parent company guarantee with regard to the

performance of Siemens Industry, Inc. in connection with the Agreement and the water system

improvement project for the City.       Siemens Corporation guaranteed performance of all

obligations related to the project and the Agreement, and Siemens Corporation provided its full

financial backing for performance of the Agreement and assumed full liability for non-

performance of the Agreement and all other liability and damages associated with the water

system project. Siemens Industry, Inc. and Siemens Corporation are jointly and severally liable

for damages related to the Agreement and the water system project. In addition, McNeil,

Gagliardi, and Carter were acting as agents for both Siemens Industry, Inc. and Siemens

Corporation. Both Siemens Industry, Inc. and Siemens Corporation are liable for any fraudulent




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and tortious conduct of McNeil, Gagliardi, Carter, and any other Siemens representatives

involved with the water system project.

       109.    To secure the Agreement and induce the City to approve the water system

improvement project, Siemens represented itself as an $80 billion global company and provided

the City with consolidated financial information for Siemens AG and all of its related entities

and subsidiaries in representing that Siemens was the most qualified company to perform the

water system improvement project for the City. Siemens relied on the global experience and

financial backing of all Siemens entities, including Siemens AG, Siemens Corporation, and

Siemens Industry, Inc., in inducing the City to enter into the Agreement and approve the water

system project.

       110.    Siemens Corporation and Siemens Industry, Inc. were the alter egos and mere

instrumentalities of Siemens AG and each other with regard to the water system project

performed for the City and the negotiation and performance of the Agreement. In addition,

Siemens Corporation and Siemens Industry, Inc. were acting as the agents of Siemens AG and

agents of one another in entering into and performing the Agreement and in all dealings with the

City related to the water system improvement project, including representations to the City to

induce the City to approve the project and enter into the Agreement.

       111.    Under the circumstances, the separate corporate identity of Siemens Industry, Inc.

should be disregarded and the corporate veil should be pierced to hold Siemens Corporation

jointly and severally liable with Siemens Industry, Inc. for all conduct and damages alleged

against Siemens in this Complaint. With regard to all allegations against Siemens in this

Complaint, Siemens Corporation and Siemens Industry, Inc. should be held jointly and severally

liable and the separate corporate identities of the companies should be disregarded.




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                                        VIII. DAMAGES

       112.    At this time, the City seeks to recover more than $450 million in actual and

consequential damages. The damages sought by the City include more than $200 million for the

City’s costs of funding the fraudulent Siemens project, more than $175 million for lost revenue

from the defective system installed by Siemens, and more than $75 million for costs to stabilize,

repair, and manage the system into the future.

       113.    In addition to these damages of more than $450 million, the City has incurred

other substantial losses due to damage to the City’s creditworthiness and reputation, which has

resulted in the City’s inability to complete other public works projects. In total, the City will

likely suffer more than $700 million in damages caused by the disastrous Siemens project. The

monetary damages sought by the City may increase as the City continues to investigate the scope

of the City’s injuries caused by the Defendants’ conduct.

       114.    The City also seeks punitive and exemplary damages due to the Defendants’

fraud, malice, gross negligence, reckless conduct, and disregard of the City’s rights as set forth in

this Complaint. The City further seeks an award of its costs and attorneys’ fees.

                                      IX. JURY DEMAND

       115.    The City demands a trial by jury.

                                           X. PRAYER

       The City prays that Defendants Siemens Industry, Inc., Siemens Corporation, Chris

McNeil, Mueller Systems LLC, U.S. Consolidated, Inc., U.S. Consolidated Group LLC, M.A.C.

& Associates, LLC, Ivision IT Consultants LLC, and Garrett Enterprises Consolidated, Inc., be

cited to appear and answer herein, and that the City be awarded the following relief:

        (a)    all actual and consequential damages resulting from Siemens’s breach of contract
               and the Defendants’ tortious conduct in an amount to be proved at trial, including



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          but not limited to the costs incurred by the City in connection with the Agreement
          and the water meter and sewer system project, lost profits, lost revenue, debt
          service costs, repair costs, loss of use, loss of credit and damage to credit
          reputation, business interruption losses, restitution of Defendants’ wrongfully-
          obtained gains, and reimbursement for funds or property which in equity and
          good conscience belong to the City;

    (b)   pre-judgment and post-judgment interest;

    (c)   costs and attorney’s fees;

    (d)   punitive damages; and

    (e)   such other and further relief, in equity or in law, to which the City may show itself
          justly entitled.




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                            Respectfully submitted,




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